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           IN THE UNITED STATES COURT OF APPEALS
                 FOR THE ELEVENTH CIRCUIT


                            Case No. 24-11478


                        ANGELA GILDER-LUCAS,
                           Plaintiff-Appellant,

                                   vs.

            MERRICK GARLAND, in his official capacity as
             UNITED STATES ATTORNEY GENERAL,
                      Defendant-Appellee.


                BRIEF OF DEFENDANT-APPELLEE


     APPEAL FROM THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF FLORIDA
              HONORABLE ALLEN C. WINSOR
                  (4:23-CV-00056-AW-MJF)


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ECCA No.: 23-12395                          Angela Gilder-Lucas v. Merrick
D.C. No.: 4:23-cv-00056-MW-MJF              Garland, U.S Attorney General


                 CERTIFICATE OF INTERESTED PERSONS

              COODY, JASON R., UNITED STATES ATTORNEY

           ESTES, SEAN, ATTORNEY FOR PLAINTIFF/APPELLANT

          FRANK, MICHAEL J., UNITED STATES MAGISTRATE JUDGE

     GARLAND, MERRICK, UNITED STATES ATTORNEY GENERAL;
                   DEFENDANT/APPELLEE

             GILDER-LUCAS, ANGELA, PLAINTIFF/APPELLANT

      GROGAN, ANDREW, ASSISTANT UNITED STATES ATTORNEY
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              ATTORNEY FOR DEFENDANT/APPELLEE

              PRINTY, GARY LEE, PREVIOUS ATTORNEY FOR
                        PLAINTIFF/APPELLANT

            WINSOR, ALLEN C., UNITED STATES DISTRICT JUDGE

      I HEREBY CERTIFY that the above constitutes a complete list of interested

persons to this appeal as described in the Rules of the United States Court of Appeals

for the Eleventh Circuit Rev. (12/01/2024), 11th Cir. R. 28-1(b) and 11th Cir. R.

26.1-1.

                                              /s/ Andrew J. Grogan
                                              ANDREW J. GROGAN
                                              Assistant United States Attorney


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              STATEMENT REGARDING ORAL ARGUMENT

      The government believes that the issues and arguments are adequately

addressed in the briefs, and therefore does not request oral argument.




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                    STATEMENT OF JURISDICTION

     This Court thus has subject matter jurisdiction over this appeal under 28

U.S.C. §1291.




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                             STATEMENT OF THE ISSUES

     I. Whether a federal employee’s claim of discrimination for an occurring on

November 18, 2021, is timely brought on January 25, 2022, under 29 C.F.R.

§1614.105.

    II. Whether the District Court correctly concluded that Plaintiff failed to point

to evidence that BOP discriminated against her by denying a reasonable

accommodation.

   III. Whether the District Court correctly concluded that Plaintiff had not shown

sufficient evidence of retaliation.




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                         STATEMENT OF THE CASE

      This is an appeal from summary judgment granted for the defendant in an

employment-discrimination case. The plaintiff is a current employee of the Federal

Bureau of Prisons. She requested an accommodation—a different job—for anxiety.

The BOP offered her two different jobs which she did not accept. She rejected the

first, which was within the parameters she asked for. She did not accept the second

within the time of the offer because of a requirement for in person work for several

months before shifting to 100% telework. She was designated absent without leave

from her job but that was converted to leave without pay. Ultimately, BOP found

her another job that she accepted. But she sued under the Rehabilitation Act,

alleging a failure to accommodate and retaliation. The District Court granted

summary judgment for the Attorney General. The plaintiff timely appealed,

asserting that the District Court erred in applying summary judgment standards.

Because the plaintiff’s arguments on appeal are without merit, this Court should

affirm the District Court’s judgment.

      (i)    Course of Proceedings, Disposition in the Case Below, and
             Statement of Facts
      The plaintiff Angela Gilder-Lucas became the supervisor of education at

Federal Correctional Institution – Tallahassee (“FCI-Tallahassee”) in 2019 at pay

grade GS-12. (ECF 16-1 at 18, 24.)



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       On May 10, 2021, following a diagnosis of generalized anxiety disorder,

Gilder-Lucas requested accommodations for that condition; specifically (1)

extended leave; and (2) reassignment to a job within 85 miles of Montgomery,

Alabama in a pay grade GS-11 or GS-12. (ECF 16-14; ECF 16-15; ECF 25-31 at

194-194). It did not request telework. (ECF 16-1 at 74). She also requested Family

Medical Leave Act (“FMLA”) leave.

       The BOP granted 3 weeks of FMLA leave and then 4 days off per month,

not to exceed 480 hours in a 12-month period (ECF 16-5). But she had to tell BOP

in advance what days each month or she would be placed in an absent without

leave (“AWOL”) status.1 (ECF 16-8). After she exhausted the 3 weeks, Gilder-

Lucas asked for 240 hours of additional sick leave, which BOP did not approve

(ECF 16-1 at 269). She did not return to work.

       Records indicate that on or about August 18, 2021, the plaintiff’s supervisor

placed her in AWOL status beginning August 6, 2021 (ECF 25-31 at 33). This

was because she did not follow the leave procedures requested by her supervisor

(ECF 16-1 at 231; ECF 16-13). Gilder-Lucas apparently discovered this and

emailed about it on August 23, 2021 (ECF 25-31 at 34-35). The AWOL was later




       1
         Gilder-Lucas subsequently complained about having to say in advance when she would
not be coming to work. ECF 25-31 at 35.
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changed to leave without pay on November 17, 2021 (ECF 16-3; ECF 25-31 at

113; ECF 25-31 at 107).

       The BOP also decided that reassignment “is the most effective reasonable

accommodation in this particular case” and began a search for a job near

Montgomery which Gilder-Lucas was qualified for but correctly stated that there

must be a vacant position available, and one would not be created for her (ECF 16-

18 at 1). After back and forth, BOP ultimately offered Gilder-Lucas 2 jobs.2 See

generally (ECF 25-31).

       The first was a program support specialist 80 miles from Montgomery at

GS-11 and, though it was what she asked for (ECF 25-31 at 193-194), she turned it

down, apparently because it was a lower grade, and she would have to drive 80

miles from wherever she planned to live (ECF 16-22). She asked BOP to expand

its search nationwide for telework eligible jobs (ECF 16-1 at 75).

       On August 26, 2021, BOP offered Gilder-Lucas a second job, a GS-12

management analyst position “at the Central Office, Washington, D.C.”3 (ECF 25-

31 at 292). According to plaintiff, she was told this position was telework eligible

(ECF 16-1). The offer asked her to accept or decline within 7 days (ECF 16-23).



       2
       BOP’s reasonable accommodation coordinator looked for other jobs at FPC
Montgomery, but Gilder-Lucas was not qualified for them. ECF 16-31 at 3.
       3
         Gilder-Lucas later claimed that she was not informed the job was in Washington until
October 20, 2021, which is clearly not correct. ECF 16-1 at 149.
                                              4
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Twelve days later, she accepted it (ECF 16-1 at 106; ECF 16-24). At her request,

BOP altered the offer to help her with retirement benefits (ECF 16-1 at 219; ECF

16-27; ECF 25-31 at 196-199, 314).

      On October 20, 2024, BOP sent Gilder-Lucas a revised offer (ECF 25-31 at

313). It explained this job was telework eligible but the plaintiff “must be on site

for at least six months to learn the job; after sixth months, you may submit your

application for telework.” (ECF 25-31 at 314). The position description explained

that “[t]he work is typically performed in an office environment.” (ECF 25-31 at

330). It again asked her to accept or decline within 7 days. (ECF 25-31 at 314).

      Gilder-Lucas responded 5 days later with a “rebuttal” (ECF 16-30). It did

not accept or reject the offer but demanded full time telework with travel to

Washington to train for the position “within the parameters of my reasonable

accommodation.” (ECF 16-30 at 3). Rather than the 6 months of onsite training

required, she said she would go to Washington for one week per month (ECF 16-

30). The following day, Gilder-Lucas filed a formal discrimination complaint with

the EEO office (ECF 16-4 at 1). Because she had not accepted it, the October 20,

2024, expired on its terms on October 27, 2024.

      A few weeks later, on November 18, 2021, and since it had offered Gilder-

Lucas 2 different jobs within the parameters she had asked for, and which she had

not accepted, BOP denied the request (ECF 16-31; ECF 16-32). The BOP


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explained that accommodating the “updated request of 100% Telework would

cause undue hardship to the Agency, require removal of essential job functions,

Lower performance standards, and would not be effective.” (Id.; see also ECF 25-

31 at 291 - explaining why the first position offered could not be performed

remotely).

         Gilder-Lucas never went back to work at FCI-Tallahassee (ECF 16-1 at 234-

235). On January 12, 2022, BOP hired someone else because FCI-Tallahassee

needed a supervisor of education to be present for work and supervise (ECF 16-3

at 3).

         On January 25, 2022, Gilder-Lucas amended her EEO complaint to allege

the November 2021 denial and BOP filling her job on January 12, 2022, were

failures to accommodate and retaliation (ECF 16-4).

         Eight months after submitting her “rebuttal,” on July 2, 2022, Gilder-Lucas

sent BOP an email purporting to accept the offer that expired on October 27, 2021

(ECF 25-19). BOP informed her that she had not accepted the position by the

deadline, and it was no longer available but advised her to contact the human

resources office (ECF 25-19).

         In November 2022, Gilder-Lucas accepted a job as an employee

development manager with BOP at FPC Montgomery, a GS-11 position as a

reasonable accommodation (ECF 16-1 at 14-16, 239). She withdrew her EEO


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complaint to file suit in District Court instead (ECF 1 at 3). She is still a BOP

employee (ECF 16-1 at 14).

      On February 2, 2023, the plaintiff filed suit in District Court (ECF 1). In the

complaint, plaintiff alleged that BOP failed to accommodate her disability

(anxiety) based on the November 18, 2021, denial in violation of the Rehabilitation

Act, 29 U.S.C. §791 et seq. (ECF 1 at 8). She also brought a retaliation claim

under the Rehabilitation Act based on the August 23 AWOL status, the November

18 denial, and BOP filling the job she was not doing on January 25, 2022 (ECF 1

at 9-10; ECF 29 at 7).

      On April 5, 2024, the District Court granted summary judgment for the

Attorney General dismissing all claims with prejudice (ECF 29). In its order, the

District Court held that any claim based on the November 18, 2021, denial was

time barred because it was not raised until January 25, 2022 (ECF 29 at 8). The

District Court further held that there no evidence from which a reasonable jury

could conclude that BOP denied her a reasonable accommodation (ECF 29 at 12).

For the retaliation claim, the District Court also concluded that there was

insufficient evidence of a causal link between protected activity and adverse

employment action (ECF 29 at 14-16).




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      (iii)   Standard of Review

      This Court’s review of grant of summary judgment is reviewed de novo.

E.g., Burton v. Tampa Hous. Auth., 271 F.3d 1274, 1276 (11th Cir. 2001).

                       SUMMARY OF THE ARGUMENT

      This Court should affirm the District Court’s judgment dismissing Gilder-

Lucas’ failure to accommodate and retaliation claims for the following reasons.

      First, the District Court correctly held that any claim based on the November

18, 2021, denial is time barred because the plaintiff failed to timely exhaust

administrative remedies; she filed her complaint more than 45 days after the

alleged act occurred and she was aware of the time limits. 29 C.F.R. §1614.105;

ECF 28-1 at 2.

      Second, the District Court correctly held that the plaintiff failed to show

evidence from which a reasonable jury could conclude BOP discriminated against

her by denying a reasonable accommodation. As District Court explained, the BOP

offered her 2 jobs available at the time which she did not accept for her own

reasons, but ultimately got exactly what she asked for when it became available.

      Third, Gilder-Lucas did not satisfy the elements of a retaliation claim under

the Rehabilitation Act. Her subsequently converted placement on AWOL status

was not in temporal proximity to her request for an accommodation. There is no

evidence indicating that the denial of the request (after plaintiff did not accept 2


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jobs meeting criteria she asked for after BOP made an extensive search) was

retaliation for making the request.4 Hiring someone else for the job she did not

want anymore is not an adverse employment action, and there is no causal link

between doing that and any protected activity.

       Accordingly, this Court should affirm the District Court’s judgment.

                                         ARGUMENT

           I.   The District Court correctly concluded that any claim based on
                the November 18, 2021, denial is time barred.

   It is well established that a federal employee must exhaust administrative

remedies before filing a claim for unlawful employment practices in federal district

court. Brown v. Snow, 440 F.3d 1259, 1262 (11th Cir. 2006); Grier v. Sec’y of the

Army, 799 F.2d 721, 724 (11th Cir. 1986); 29 C.F.R. §1614.101, et seq.

   The first necessary step of the EEO process requires the federal employee to

initiate contact with an EEO counselor from the employing agency within 45 days

“of the “matter alleged to be discriminatory”; that is each specific allegation

alleged to be discriminatory or retaliatory. 29 C.F.R. §1614.105(a)(1); see also

Gaillard v. Shinseki, 349 F. App’x 391, 392 (11th Cir. 2009); Nat’l R.R. Passenger

Corp. v. Morgan, 536 U.S. 101, 113 (2002) (“’[D]iscrete discriminatory acts are

not actionable if time barred, even when they are related to acts alleged in timely


       4
        As indicated above, this claim is also barred by the plaintiff’s failure to exhaust
administrative remedies.
                                                 9
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filed charges”). If the federal employee fails to initiate the EEO process within the

45-day window, the claim is barred for failure to exhaust administrative remedies.

Shiver v. Chertoff, 549 F.3d 1342, 1344 (11th Cir. 2008) (“Generally, when the

claimant does not initiate contact within the 45–day charging period, the claim is

barred for failure to exhaust administrative remedies”); Thomas v. Miami Veterans

Med. Ctr., 290 F. App’x 317, 319 (11th Cir. 2008) (affirming summary judgment

for defendant when plaintiff’s initial contact with the EEO counselor was outside

of the 45-day window and thus untimely).

      As the District Court recognized, the plaintiff amended her EEO complaint

on January 25, 2022, to include the November 18, 2021, accommodation denial.

This was the first time she complained about that alleged act of discrimination.

This was more than 45 days.

          The plaintiff says that the 45-day deadline to contact EEO is “inherently

extended” because she asked for reconsideration of the decision a month or so

later. Appellant Brief at 40. But there is no legal support for that argument,

whatever it means.

      Accordingly, any claim based on the November 18, 2021, denial is time-

barred.




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      II.   The District Court correctly concluded that Plaintiff failed to point
            to evidence that BOP discriminated against her by denying a
            reasonable accommodation.

      The Rehabilitation Act prohibits federal agencies from discriminating

against any otherwise qualified individual with a disability solely by reason of her

disability. 29 U.S.C. §794(a); Porterfield v. Soc. Sec. Admin., No. 20-10538, 2021

WL 3856035, at *4 (11th Cir. 2021). A federal agency violates this law when it

does not make reasonable accommodations to the known physical or mental

limitations of an otherwise qualified individual with a disability.” 42 U.S.C.

§12112(b); 29 U.S.C. §794(d). But the law does not require employers to create

new positions for employees with disabilities. Boyle v. City of Pell City, 866 F.3d

1280, 1289 (11th Cir. 2017). “Reassignment to another position is a required

accommodation only if there is a vacant position available for which the employee

is otherwise qualified.” Id. (quoting Willis v. Conopco, Inc., 108 F.3d 282, 284

(11th Cir. 1997)).

      The BOP agreed to reasonably accommodate Gilder-Lucas and went about

trying to find a suitable position for her. She rejected the first one BOP found for

her—which met her stated criteria of a GS-11 or GS-12 position within 85 miles of

Montgomery apparently because it did not satisfy new criteria she imposed; that

she ought not have to go 80 miles from wherever she chose to live for a mere GS-

11 position, stating she would “hold out for the department’s review” of other


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available positions5 (ECF 16-22). BOP satisfied its reasonable accommodation

obligations under the Rehabilitation Act by making this offer, and the plaintiff’s

failure to accommodate claim fails here.

       Nevertheless, the BOP tried again and, after changing the offer to make

favorable retirement arrangements, offered her a GS-12 job where she could live in

Montgomery and telework for a Washington, D.C., position if she first learned the

new job with 6 months of on-site training. But she did not accept that offer either,

instead issuing a rambling “rebuttal,” and the offer expired under its own terms. As

the District Court explained, “[r]egardless, after an extended search, BOP was

unable to locate any other available positions that met Gilder-Lucas’s

requirements” and “Gilder-Lucas has not pointed to evidence that other positions

were available during that time.” (ECF 29 at 11)

   The plaintiff’s basic point (see Appellant Brief at 23) is that the BOP failed to

accommodate her because it did not change the requirements of the second, other

position it offered her to allow for her to do it without obtaining the necessary

training. But the Rehabilitation Act requires no such thing. See Stewart v. Happy

Herman’s Cheshire Bridge, Inc., 117 F.3d 1278, 1285 (11th Cir. 1997) (“[T]he use




       5
         In response to this obvious legal truth, the plaintiff’s asserts that she “did not ‘decline’
the Bureau’s offers” (Appellant Brief at 22). That is clearly not accurate. The plaintiff expressly
rejected the first offer in an email and did not accept the second within the time prescribed.
Ordinarily, an offer not accepted within the time prescribed is deemed rejected.
                                                 12
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of the word ‘reasonable’ as an adjective for the word ‘accommodate’ connotes that

an employer is not required to accommodate an employee in any manner in which

the employee desires.”). The plaintiff offers no legal authority to the contrary.

      III.   The District Court correctly concluded that Plaintiff had not
             shown sufficient evidence of retaliation.

      To establish a retaliation claim under the Rehabilitation Act, a plaintiff must

show (1) she engaged in statutorily protected activity under the Rehabilitation Act;

(2) she suffered an adverse employment action; and (3) there is a causal connection

between the protected conduct and the adverse employment action. See Parris v.

Miami Herald Publ’g Co., 216 F.3d 1298, 1301 (11th Cir. 2000).

      The plaintiff’s retaliation claim is based on (1) being placed on AWOL on

August 18 beginning August 6, 2021; (2); the November 18 denial; and (3) BOP

hiring a new supervisor of education. All these are meritless.

      A. AWOL

      There is insufficient evidence that the AWOL placement on August 18 (for

absence beginning August 6) was causally connected to the May 10, 2021, request

for a reasonable accommodation. To establish an inference of retaliation in the

absence of other evidence, “the temporal relationship between the protected

activity and the adverse employment action must be very close.” Brown v. Ala.

Dep’t of Transp., 597 F.3d 1160, 1182 (11th Cir. 2010). The plaintiff says there is

an inference of causation because the distance in time (apparently according to
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Rule 6 calculations) between May 10 (the date of accommodation request) and

August 6 (the effective AWOL date entered August 18) is 88 days, and thus, less

than 3 months. But finding a reasonable inference does not depend on such

technicalities. The distance between the activity and the employer action was not

“very close.”

       The plaintiff says the District Court improperly discounted the testimony of

the FCI Tallahassee human resource manager that “[w]hen asked whether she

believed that Gilder-Lucas ‘was being retaliated against for engaging in protected

EEO activity when she was placed on AWOL status,’ [the HR manager] replied

that she was ‘sure that had something to do with it.’” (ECF No. 25-31 at 247)

Defendant argued the evidence was hearsay and speculation. The District Court

correctly discounted it as speculative because there was no basis for what the

witness said.6 ECF 29 at 14. On appeal, Gilder-Lucas claims this is error, pointing

to other documents. But nothing in the other documents shows the basis for the

statement. And the plaintiff’s assertion that the District Court erred by discounting

it as hearsay (Appellant Brief at 1) is just wrong, because the District Court did not

dismiss it as hearsay, but speculation.




       6
          Presumably, if there was a basis for it, the plaintiff could have learned as much by
deposing the witness, learning what it was, and submitting the transcript or other competent
evidence in response to Defendant’s motion for summary judgment.
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      B. Denial of Accommodation Request

      First, as indicated above, a claim based on the November 18, 2021, denial is

time barred.

      Second, the BOP’s reasonable accommodation specialist said why it was

denied; not because of protected activity (ECF 16-31). The District Court correctly

noted that the plaintiff’s summary-judgment response does not argue a causal link

between protected activity and this action or point to evidence showing one (ECF

29 at 15 (citing ECF 26)). When a party opposing summary judgment fails to

properly address another party’s assertion of fact, the court may consider the fact

undisputed for purposes of the motion. See Fed. R. Civ. P. 56(e). To survive

summary judgment, a nonmoving party who bears the burden of proof at trial must

      [B]ring to the court’s attention to evidence demonstrating a genuine
      issue for trial. Overcoming [their] burden requires more than
      speculation or a mere scintilla of evidence. The non-movant must go
      beyond the pleadings, to provide evidence and designate specific facts
      showing that there is a genuine issue for trial.

Poer v. Jefferson Cnty. Comm’n, 100 F.4th 1325, 1336 (11th Cir. 2024).

Concerning this issue, the District’s order is due to be affirmed on that basis alone.

      Third, for the reasons stated above, there is insufficient evidence to establish

retaliation. The BOP acknowledged the request and offered two jobs which the

plaintiff did not accept. The Rehabilitation Act requires nothing more, and

probably less.


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      C. Hiring a new Supervisor of Education

      The District Court held that this was not an adverse employment action

because a reasonable person would not be dissuaded from complaining about

discrimination because someone else filled a job the person claimed no interest in.

That is obviously correct. The plaintiff offers no contrary legal argument. It

appears she has abandoned the issue.

                                  CONCLUSION

      Accordingly, the United States respectfully requests that this Court affirm

the judgment of the District Court.

                                               Respectfully submitted,

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           CERTIFICATE OF COMPLIANCE WITH F.R.A.P. 32(a)(7)

         I certify that this brief complies with the type-volume limitation set forth in

F.R.A.P. 32(a)(7). This brief contains 3,418 words.



                            CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that one (1) copy of the foregoing has been mailed,

postage paid, to David Scher and Sean Estes, Counsel for Appellant, on this 31st day

of December, 2024. On that same date, this brief was electronically filed with the

Court.

                                                 /s/ Andrew J. Grogan
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